                 Case 2:12-cr-00048-GEB Document 82 Filed 04/06/15 Page 1 of 3

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 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8                                IN THE UNITED STATES DISTRICT COURT
                                     EASTERN DISTRICT OF CALIFORNIA
 9

10   UNITED STATES OF AMERICA,                            CASE NO. 2:12-CR-0048 TLN

11                                 Plaintiff,

12                           v.

13   PAVEL YAKIMENKO,                                     STIPULATION AND [PROPOSED] PROTECTIVE
     NIKOLAY YAKIMENKO,                                   ORDER RE: DISSEMINATION OF DISCOVERY
14   YURIY KALTAKCHI, AND                                 DOCUMENTS CONTAINING NAMES AND
     SVETLANA KRAMERENKO                                  PERSONAL IDENTIFYING INFORMATION
15

16                                 Defendants.

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18          Pursuant to Fed. R. Crim. P. 16(d), the undersigned parties in this case, United States v.

19 Yakimenko, et al., 2:12-cr-0048 TLN stipulate and agree, and respectfully request that the Court order

20 that:

21          1.       The United States shall turn over discovery containing personal identifying information

22 of third parties in this case subject to this stipulation and associated protective order.

23          2.       Certain documents in the government’s discovery production contain names and personal

24 identifying information of defendants and other individuals (hereinafter, the “Protected Material”). Such

25 personal identifying information includes, but is not limited to, surnames, street addresses, telephone

26 numbers, drivers’ license numbers, social security numbers, financial account numbers, dates of birth,

27 and any other alphanumeric identifiers attributed to any person. Any pages of discovery that contain no

28 personal identifying information are not subject to this order.

       STIPULATION AND [PROPOSED] PROTECTIVE ORDER
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                 Case 2:12-cr-00048-GEB Document 82 Filed 04/06/15 Page 2 of 3

 1          3.       The Protected Material is now and will forever remain the property of the United States.

 2 The Protected Material is entrusted to counsel for each defendant only for purposes of representation in

 3 this case.

 4          4.       Counsel for each defendant shall not give Protected Material or any copy of Protected

 5 Material to any person other than counsel’s staff, investigator, or retained expert(s). The terms “staff,”

 6 “investigator,” and “expert” shall not be construed to describe any defendant or other person not either

 7 regularly employed by counsel or a licensed investigator or expert hired in this case.

 8          5.       Any person receiving Protected Material or a copy of Protected Material from counsel for

 9 any defendant shall be bound by the same obligations as counsel and further may not give the Protected

10 Material to anyone (except that the Protected Material shall be returned to counsel).

11          6.       Counsel shall maintain a list of persons to whom any Protected Material, or copies

12 thereof, have been given. Such persons shall be shown a copy of this Stipulation and Order and shall

13 sign a copy of the Stipulation and Order and note that they understand its terms and agree to them.

14          7.       The defendants in this case may review the Protected Material and be aware of its

15 contents, but shall not be given control of the Protected Material or any copies thereof. Notwithstanding

16 the foregoing, counsel are permitted to provide each defendant with copies of documents otherwise

17 classifiable as Protected Material so long as counsel completely redact all personal identifying

18 information from those documents prior to providing them to a defendant.

19          8.       The foregoing notwithstanding, after the Trial Confirmation Hearing in this case, counsel,

20 staff, and investigator for any defendant who has confirmed for trial may make copies of the Protected

21 Material for trial preparation and presentation. Any copies must, however, remain in the possession of

22 counsel, staff, investigator, expert, or the Court.

23
                                                          Respectfully Submitted,
24
                                                          BENJAMIN B. WAGNER
25                                                        United States Attorney

26 DATE: April 3, 2015                                    By: /s/ Michele Beckwith
                                                          MICHELE BECKWITH
27                                                        Assistant U.S. Attorney

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      STIPULATION AND [PROPOSED] PROTECTIVE ORDER
                                                         2
              Case 2:12-cr-00048-GEB Document 82 Filed 04/06/15 Page 3 of 3

 1

 2 DATE: April 3, 2015                              /s/ Michele Beckwith for Olaf W. Hedberg
                                                    OLAF W. HEDBERG
 3                                                  Attorney for PAVEL YAKIMENKO
 4

 5 DATE: April 3, 2015                              /s/ Michele Beckwith for David D. Fischer
                                                     DAVID D. FISCHER
                                                    Attorney for NIKOLAY YAKIMENKO
 6

 7
     DATE: April 3, 2015                            /s/ Michele Beckwith for Timothy Zindel
 8                                                   TIMOTHY ZINDEL
                                                    Attorney for SVETLANA KRAMARENKO
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10         By agreement of the parties, and good cause appearing, IT IS SO ORDERED.

11 DATED: April 3, 2015.

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      STIPULATION AND [PROPOSED] PROTECTIVE ORDER
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